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                            EXHIBIT 2

                    JTS Asset Purchase Agreement
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                                  PURCHASE AGREEMENT


PARTIES:

       RODNEY D. TOW, in his capacity as Chapter 7 Trustee for the Bankruptcy Estate of
       Koontz-Wagner Custom Controls Holdings, LLC, Case No. 18-33815, United States
       Bankruptcy Court for the Southern District of Texas (“Seller”)

       JOHNSON THERMAL SYSTEMS, INC., an Idaho corporation (“Purchaser”)


RECITAL:

       Purchaser desires to purchase from Seller, and Seller desires to sell to Purchaser, the
Assets (as defined below) in accordance with the terms and conditions of this Purchase
Agreement (this “Agreement”).


AGREEMENTS:

        1.     SALE OF ASSETS. Purchaser agrees to purchase from Seller and Seller agrees
to sell to Purchaser the following assets (the “Assets”) in accordance with the terms of this
Agreement:

                1.1     All structures, works in progress, raw materials, enclosures, partially
completed enclosures and materials, partially completed tanks and materials, and loose materials
of Koontz-Wagner Custom Controls Holdings, LLC (the “Debtor”) related to its anticipated
fabrication work on behalf of Peterson Power Systems, Inc., including without limitation the
structures, works in progress, raw materials, enclosures, partially completed enclosures and
materials, partially completed tanks and materials, and loose materials pictured on Schedule 1
hereto (collectively, the “Goods”); and

          1.2    Underwriters’ Laboratory  Listing  Nos.     EFVT.MH26349,
EELU.MH17604, EEEV.MH15690, QRXA.MH49030, NITW7.E2073416 (the “UL Listings”).

        2.       NO ASSUMPTION OF LIABILITIES. Purchaser shall in no event assume, be
bound by, or be responsible in any way for any liability or obligation of Seller or the Debtor.
Seller shall retain full responsibility for all of its and the Debtor’s liabilities and obligations,
whether known or unknown, liquidated or unliquidated, contingent, fixed, accrued or disclosed,
including any liabilities (a) with respect to employees or former employees of the Seller or the
Debtor; (b) arising under the Worker Adjustment and Restraining Notification Act, 29 U.S.C.
Section 2101 et seq.; (c) arising under the Consolidated Omnibus Budget Reconciliation Act, as
amended (COBRA); (d) related to any claims for personal liability; and (e) for any claims,
interest or liens in the Asset.



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       3.      PAYMENT TERMS.

               3.1    Purchaser agrees to purchase and to pay $282,062.80 U.S. Dollars (the
“Purchase Price”) for the Assets, exclusive of shipping and handling charges and sales, use,
excise, value added or similar taxes.

               3.2    Payment shall be due within 48 hours of satisfaction of Purchaser Closing
Conditions (as defined below).

       4.     TITLE, RISK OF LOSS. Title and risk of loss to the Assets shall pass to
Purchaser upon receipt of the Assets by Purchaser at Debtor’s facility in Caldwell, Idaho.

         5.   CLOSING. The consummation of the transactions contemplated under this
Agreement (the “Closing”) shall take place at the offices of the Seller, or at such other place
mutually acceptable to the Seller and Purchaser, as promptly as practicable after satisfaction of
the Purchaser Closing Conditions or at such other date and time as may be agreed to by the
parties.

        6.     CONDITIONS TO PURCHASER’S OBLIGATIONS. The obligation of the
Purchaser under this Agreement to deliver to Seller the Purchase Price shall be subject to the
satisfaction (or waiver, in writing, by Purchaser) of each of the following conditions (the
“Purchaser Closing Conditions”):

              6.1   No material portion of the Assets shall have been damaged, destroyed or
taken by condemnation;

               6.2    The United States Bankruptcy Court for the Southern District of Texas
shall have entered an order in form and substance acceptable to Purchaser (the “Approval
Order”) (i) authorizing Seller to enter into and perform its obligations under this Agreement; (ii)
authorizing the sale of the Assets to Purchaser free and clear of all liens, claims and interests
pursuant to Section 363 of the Bankruptcy Code; (iii) finding that Purchaser is a good faith
purchaser of the Assets pursuant to Section 363(m) of the Bankruptcy Code; and (iv) waiving the
automatic stay provided by Federal Rules of Bankruptcy Procedure 6004(h).

              6.3    The Seller shall have executed and delivered to the Purchaser the
following documents and instruments:

                     a.       A bill of sale duly executed by the trustee for the Goods, to be
provided by the Purchaser;

                       b.      Such documents as reasonably required by Purchaser for the
transfer of the UL Listings; and

                      c.     Such other documents, instruments or certificates as shall be
reasonably requested by Purchaser.

       7.      TERMINATION. This Agreement may be terminated at any time before Closing
by any of the following:

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               7.1     Written agreement of the Seller and the Purchaser;

               7.2     The Purchaser Closing Conditions shall not have occurred before August
30, 2018;

               7.3     Any person shall appeal or seek the stay of the Approval Order;

                7.4     If any judicial, administrative or arbital action, suit or proceed shall have
been commenced, the purpose of which is, or might result in, preventing the consummation of
the sale of the Assets under this Agreement.

       8.      ENTIRE AGREEMENT. This Agreement constitutes the complete agreement
between the parties and supersedes all prior or contemporaneous agreements or representations,
written or oral concerning the subject matter of this Agreement. This Agreement may not be
modified or amended except in writing signed by a duly authorized representative of each party.
No other act, document, usage or custom shall be deemed to amend or modify this Agreement.

        9.      NOTICES. All notices required to be sent hereunder shall be in writing and shall
be deemed to have been given upon (a) the date sent by email; (b) on the date it was delivered by
courier; or (c) if by certified mail return receipt requested, on the date received, to the addresses
set forth below and to the attention of the signatories of this Agreement and the cover sheet, or to
such other address or individual as the parties may specify from time to time by written notice to
the other party. All notices shall be sent to the addresses set forth in this Agreement or any other
address provided by a party to the other part in writing.

       10.     NO WAIVER. A party’s failure to enforce its rights or remedies upon learning of
any default or violation of any terms of this Agreement shall not be construed as a waiver of any
of such party’s rights or remedies, or of the default or violation.

      11.     NO PRESUMPTION. This Agreement shall be construed without regard to any
presumption or rule requiring construction or interpretation against the party drafting it.

        12.     COUNTERPARTS. This Agreement may be executed by electronic means and in
any number of counterparts, each of which shall be deemed an original, but all of which together
shall constitute one and the same instrument.

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        13.     GOVERNING LAW. The laws of the State of Idaho, other than those pertaining
to conflicts of laws, shall exclusively apply to all aspects of the parties’ relationship and
dealings. Venue for any legal proceeding shall lie solely in the United States Bankruptcy Court
for the Southern District of Texas, unless such court lacks jurisdiction, in which case venue shall
lie solely in Ada County, Idaho. The terms of this provision shall survive beyond the termination
of this Agreement.

       DATED August ___, 2018.

SELLER                                           PURCHASER

                                                 JOHNSON THERMAL SYSTEMS, INC.

_____________________________                    By: _________________________________
Rodney D. Tow, Chapter 7 Trustee for             Name:
Koontz Wagner Custom Controls Holdings,          Title:
LLC




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